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                                UNITED STATES DISTRICT COURT
                                 MIDDLE DISTRICT OF FLORIDA
                                       TAMPA DIVISION

                                        CLERK’S MINUTES

 CASE NO.:      8:23-cr-388-TPB-CPT                            DATE:      May 13, 2024

 HONORABLE THOMAS P. BARBER

                                                               GOVERNMENT COUNSEL
 UNITED STATES OF AMERICA                                      Carlton Gammons, AUSA

 v.

                                                               DEFENDANT COUNSEL
 MATTHEW FREDERIC BERGWALL (1)                                 Kevin Darken, ret.

 COURT REPORTER: Rebekah Lockwood                              DEPUTY               Sonya Cohn
                                                               CLERK:
                                                               COURTROOM:           14A
 TIME: 10:00 - 10:02 a.m.
 TOTAL: 1 minute

PROCEEDINGS:         STATUS CONFERENCE

Parties anticipate resolution prior to next status.

Defendant’s motion to continue trial – GRANTED. The Court finds that the ends of justice are
served by such a continuance and outweigh the best interest of the public and the defendant in
a speedy trial and the time is deemed excludable.

Next Status Conference:             July 15, 2024, at 9:30 a.m. Notice to follow.
